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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

THE ESTATE OF MARQUEZ SMART,     )
BY RANDAL SMART & BRENDA         )
BRYANT, AS ADMINISTRATORS OF     )
THE ESTATE OF MARQUEZ SMART,     )
AND RANDAL SMART AND BRENDA      )
BRYANT, AS HEIRS OF MARQUEZ      )
SMART, DECEASED                  )                     Case No.: 2:14-CV-02111-EFM-JPO
                                 )
               Plaintiffs,       )
                                 )
vs.                              )
                                 )
THE CITY OF WICHITA, OFFICER LEE )
FROESE, AND OFFICER AARON        )
CHAFFEE, IN THEIR INDIVIDUAL AND )
OFFICIAL CAPACITY                )
                                 )
               Defendants.       )

                                      NOTICE OF APPEAL

       Pursuant to F.R.A.P. 3 and 4, Plaintiffs, the Estate of Marquez Smart, by Randal Smart and

Brenda Bryant, as Administrators of the Estate of Marquez Smart, and Randal Smart and Brenda Bryant,

as heirs of Marquez Smart (collectively “the Smarts”), appeal to the United States Court of Appeals for

the Tenth Circuit from the Order entered on August 7, 2018 [Doc. 205], granting Defendants’ summary

judgment motion, and the Order entered on October 19, 2018 [Doc. 214], denying Plaintiffs’ Motion for

Reconsideration.
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                                                   Respectfully submitted by,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on November 14, 2018, I electronically filed the foregoing with the Clerk
of the Court, using the CM/ECF system, which sent notice to the following attorneys of record:

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